         Case 1:21-cv-00163-RSB-BKE Document 115 Filed 10/19/22 Page 1 of 3
             USCA11 Case: 21-14269 Date Filed: 10/18/2022 Page: 1 of 1


                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                         October 18, 2022

Clerk - Southern District of Georgia
U.S. District Court
Federal Justice Center
600 JAMES BROWN BLVD
AUGUSTA, GA 30901

Appeal Number: 21-14269-BB
Case Style: State of Georgia, et al v. President of the United States, et al
District Court Docket No: 1:21-cv-00163-RSB-BKE

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Lois Tunstall
Phone #: (404) 335-6191

Enclosure(s)
                                                                     MDT-1 Letter Issuing Mandate
      Case 1:21-cv-00163-RSB-BKE Document 115 Filed 10/19/22 Page 2 of 3
          USCA11 Case: 21-14269 Date Filed: 10/18/2022 Page: 1 of 2




                                         In the
                     United States Court of Appeals
                                For the Eleventh Circuit
                                 ____________________

                                      No. 21-14269
                                 ____________________

           STATE OF GEORGIA,
           STATE OF ALABAMA,
           STATE OF IDAHO,
           STATE OF KANSAS,
           STATE OF SOUTH CAROLINA, et al.,
                                                        Plaintiffs-Appellees,
           versus
           PRESIDENT OF THE UNITED STATES,
           SAFER FEDERAL WORKFORCE TASK FORCE,
           UNITED STATES OFFICE OF PERSONNEL MANAGEMENT,
           DIRECTOR, OFFICE OF PERSONNEL MANAGEMENT AND
           CO-CHAIR
           SAFER FEDERAL WORKFORCE TASK FORCE,
           OFFICE OF MANAGEMENT AND BUDGET, et al.,




ISSUED AS MANDATE: 10/18/2022
      Case 1:21-cv-00163-RSB-BKE Document 115 Filed 10/19/22 Page 3 of 3
          USCA11 Case: 21-14269 Date Filed: 10/18/2022 Page: 2 of 2




           2                                                            21-14269

                                                        Defendants-Appellants.


                                 ____________________

                        Appeal from the United States District Court
                           for the Southern District of Georgia
                         D.C. Docket No. 1:21-cv-00163-RSB-BKE
                                 ____________________

                                        JUDGMENT
           It is hereby ordered, adjudged, and decreed that the opinion is-
           sued on this date in this appeal is entered as the judgment of this
           Court.
                                  Entered: August 26, 2022
                        For the Court: DAVID J. SMITH, Clerk of Court




ISSUED AS MANDATE: 10/18/2022
